                  Case 2:20-mj-00895-VCF Document 11
                                                  12 Filed 11/05/20 Page 1 of 4




 1   NICHOLAS A. TRUTANICH
     United States Attorney
 2   Nevada Bar Number 13644
     JIM W. FANG
 3   Assistant United States Attorney
     501 Las Vegas Blvd. South, Ste. 1100
 4   Las Vegas, Nevada 89101
     Tel: 702.388.6317 / Fax: 702.388.6418
 5   jim.fang@usdoj.gov

 6   Attorneys for the United States

 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                           Case No. 2:20-mj-00895-VCF
 9
                      Plaintiff,                            Order
                                                         Stipulation to Continue the Preliminary
10                                                       Hearing (First Request)
            v.
11
     ROBERT BARBER,
12
                      Defendant.
13

14

15           It is hereby stipulated and agreed, by and between Nicholas A. Trutanich, United

16   States Attorney, through Jim W. Fang, Assistant United States Attorney, and Damian R.

17   Sheets, Esq., counsel for Defendant Robert Barber, that the preliminary hearing in the

18   above-captioned matter for Barber, previously scheduled for November 10, 2020, at 4:00

19   p.m., be vacated and continued until a time convenient to the Court, but no earlier than 60

20   days from the current setting.

21           1.       Federal Rule of Criminal Procedure Rule 5.1(d) provides that “[w]ith the

22   defendant’s consent and upon a showing of good cause—taking into account the public

23   interest in the prompt disposition of criminal cases—a magistrate judge may extend the time

24   limits [for preliminary hearings] one or more times.” Here, the parties desire to explore the
                 Case 2:20-mj-00895-VCF Document 11
                                                 12 Filed 11/05/20 Page 2 of 4




 1   potential to resolve this matter before defendant is formally charged by a criminal

 2   indictment.

 3          2.       In that regard, the government will be providing defense counsel with limited

 4   Rule 16 discovery in order to facilitate pre-indictment resolution. Defense counsel will need

 5   additional time to review the discovery and discuss the case with his client prior to a

 6   preliminary hearing or indictment.

 7          3.       This continuance is not sought for the purposes of delay, but to allow defense

 8   counsel an opportunity to examine the merits of this case before a potential resolution can

 9   be reached between the parties.

10          4.       Defendant is not in custody and agrees to the continuance.

11          5.       Denial of this request could result in a miscarriage of justice, and the ends of

12   justice served by granting this request outweigh the best interest of the public and the

13   defendants in a speedy trial.

14          6.       The additional time requested by this stipulation is excludable in computing

15   the time within which indictment must be filed pursuant to the Speedy Trial Act, 18 U.S.C.

16   § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv).

17          DATED this 5th day of November, 2020.

18   NICHOLAS A. TRUTANICH
     United States Attorney
19
     s/Jim W. Fang                                       s/ Damian R. Sheets
20   JIM W. FANG                                        Damian R. Sheets, ESQ.
     Assistant United States Attorney                   Counsel for Defendant Barber
21   Counsel for the United States

22

23

24
                                                  2
                 Case 2:20-mj-00895-VCF Document 11
                                                 12 Filed 11/05/20 Page 3 of 4




 1                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 2
     UNITED STATES OF AMERICA,
 3
                     Plaintiff,
 4
            v.                                            Case No. 2:20-mj-00895-VCF
 5
     ROBERT BARBER,                                       FINDINGS AND ORDER
 6
                     Defendant.
 7

 8

 9          Based on the pending Stipulation between the defense and the government, and good

10   cause appearing therefore, the Court hereby finds that:

11          1.       The parties desire to continue the preliminary hearing to facilitate pre-

12   indictment resolution, and the government will be providing defense counsels with limited

13   Rule 16 discovery for that purpose. Defense counsel will need additional time to review the

14   discovery and discuss the case with his client prior to a preliminary hearing or indictment.

15   The Court finds good cause to continue the hearing to allow the parties to reach a pre-

16   indictment resolution.

17          2.       Both counsel for defendant and counsel for the government agree to the

18   continuance.

19          3.       Defendant is not in custody and agrees to the continuance.

20          4.       The continuance is not sought for the purposes of delay, but to allow defense

21   counsel an opportunity to examine the merits of this case before a potential resolution can

22   be reached between the parties.

23

24
                                                  3
                 Case 2:20-mj-00895-VCF Document 11
                                                 12 Filed 11/05/20 Page 4 of 4




 1          5.       Denial of this request could result in a miscarriage of justice, and the ends of

 2   justice served by granting this request outweigh the best interest of the public and the

 3   defendants in a speedy trial.

 4          6.       The additional time requested by this stipulation is excludable in computing

 5   the time within which indictment must be filed pursuant to the Speedy Trial Act, 18 U.S.C.

 6   § 3161(b), and considering the factors under 18 U.S.C. § 3161(h)(7)(A) and (B)(i) and (iv).

 7          THEREFORE, IT IS HEREBY ORDERED that the preliminary hearing in the

 8   above-captioned matter currently scheduled for November 10, 2020, at 4:00 p.m. be vacated

 9   and continued to _________________________,          at _______.
                      January 28, 2021 at 4:00 PM in LV Courtroom 3D before Magistrate Cam Ferenbach.

                             5th     November
10          DATED this _____ day of _______________, 2020.

11

12                                                _______________________________________
                                                   HONORABLE CAM FERENBACH
13                                                 UNITED STATES MAGISTRATE JUDGE

14

15

16

17

18

19

20

21

22

23

24
                                                    4
